                               ***********
Based upon information contained in I.C. File LH-0321 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1.  Decedent, Jerry K. Best, was a Captain in the Wayne County Sheriff's Department at the time his death on 13 November 2002.
2.  Decedent's death occurred in the course and scope of his employment when he stopped his vehicle to remove a deer carcass from a travel lane on N.C. 581 North. The members of the Wayne County Sheriff's Department had been instructed as part of their duties to remove any injured or dead animals from the roadway in order to prevent traffic hazards. In so doing, decedent was struck by another vehicle and received fatal injuries.
3.  At the time of his death and for at least six months prior to that date, decedent was married to and residing with Donna M. Best. Decedent had no children.
                               ***********
Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1.  Decedent was an eligible employee of the Wayne County Sheriff's Department at the time of his death on 13 November 2002.
2.  Decedent's death was the direct result of injuries incurred in the line of duty, as defined by N.C. Gen. Stat. § 143-166.2.
3.  Decedent is survived by his wife, Donna M. Best, who is eligible for the award of death benefits under N.C. Gen. Stat. § 143-166.1 etseq.
                               ***********
Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1.  The sum of $25,000.00 is hereby awarded to Donna M. Best as the qualified surviving spouse of Jerry K. Best, as follows: the sum of $10,000.00 shall be paid immediately to Donna M. Best. Thereafter, the sum of $5,000.00 shall be paid annually to Donna M. Best as long as she remains unmarried until such time as the balance of all payments equal $25,000.00. This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 etseq. If Donna M. Best becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of February, 2003.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER